                   Case 2:24-cv-10546-MWF-BFM      Document 1-3      Filed 12/06/24    Page 1 of 31 Page ID
                                                         #:16


                     1 FREEMAN MATHIS & GARY, LLP

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                     5 Los Angeles, California 90071

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                     7 Attorneys for Defendant Horace Mann Property

                     8 and Casualty Insurance Company

                     9                       UNITED STATES DISTRICT COURT
                    10                     CENTRAL DISTRICT OF CALIFORNIA
                    11
                         STEPHEN CHAPMAN,                            Case No.
                    12                                               District Judge:
                    13                     Plaintiff,                DECLARATION OF KRISTIN A.
                                                                     INGULSRUD IN SUPPORT OF
                    14        v.                                     NOTICE OF REMOVAL OF
                    15 HORACE MANN PROPERTY &                        ACTION UNDER 28 U.S.C. § 1441;
                       CASUALTY INSURANCE                            EXHIBITS A-C
                    16 COMPANY,
                                                                     [Filed concurrently with Notice of
                    17                                               Removal; Declaration of Matthew
                                           Defendant.                Rubin; Civil Cover Sheet; Notice of
                    18                                               Interested Parties]
                    19                                               State Complaint Filed: October 24, 2024
                                                                     Removal Filed:        December 6, 2024
                    20
                    21       I, Kristin A. Ingulsrud, Esq., hereby declare as follows:
                    22       I am an attorney admitted to practice in all of the courts in the State of California.
                    23 I am an attorney with the law firm Freeman Mathis & Gary, LLP, counsel of record

                    24 for Defendant Horace Mann Property and Casualty Insurance Company (“Horace

                    25 Mann”) in this litigation. Unless otherwise noted, the following is based on my

                    26 personal knowledge. If called as a witness, I could and would competently testify to

                    27 the facts contained herein. I submit this declaration in support of Horace Mann’s
Freeman Mathis
  & Gary, LLP
Attorneys at Law    28 Notice of Removal of Action.

                                                   DECLARATION OF KRISTIN A. INGULSRUD
                                                                                                              01
                   Case 2:24-cv-10546-MWF-BFM        Document 1-3      Filed 12/06/24   Page 2 of 31 Page ID
                                                           #:17


                     1        2.      Horace Mann was served in this action on November 8, 2024. A true and
                     2 correct copy of Plaintiff’s Complaint in this action, filed on October 24, 2024, is

                     3 attached hereto as Exhibit A. Also included in Exhibit A is a true and correct copy

                     4 of Plaintiff’s First Amended Complaint, filed on November 14, 2024.

                     5        3.      To the best of my knowledge, the Complaint and First Amended
                     6 Complaint contained in Exhibit A, and the other related documents, constitute all

                     7 process, pleadings, orders, and other documents received by Horace Mann to date in

                     8 this action.

                     9        4.      The Answer filed by Horace Mann in the Los Angeles County Superior
                    10 Court and served on all parties is attached hereto as Exhibit B.

                    11        5.      Horace Mann is a corporation organized and existing under the laws of
                    12 the state of Illinois, with its principal place of business in Springfield, Illinois. Horace

                    13 Mann is, and was as of October 2024, a resident and citizen of the state of Illinois and

                    14 of the United States. A true and correct copy of the Illinois Department of Insurance’s

                    15 business page for Horace Mann is attached hereto as Exhibit C.

                    16        I declare under penalty of perjury and under the laws of the United States and
                    17 California that the foregoing is true and correct to the best of my knowledge and belief.

                    18        Executed this 6th day of December, 2024 at Los Angeles, California.
                    19

                    20
                    21                                    /s/ Kristin A. Ingulsrud
                                                          Kristin A. Ingulsrud
                    22

                    23

                    24

                    25

                    26

                    27
Freeman Mathis
  & Gary, LLP
Attorneys at Law    28

                                                    DECLARATION OF KRISTIN A. INGULSRUD
                                                                                                               02
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                   EXHIBIT A
                                                   Case 2:24-cv-10546-MWF-BFM         Document 1-3        Filed 12/06/24   Page 4 of 31 Page ID
                                                                                            #:19



                                               1    STEPHEN CHAPMAN
                                               2    7917 SELMA AVE 336
                                               3    LOS ANGELES, CA, 90046
Electronically Received 11/14/2024 10:22 AM




                                               4    (619)550-7543
                                               5    Stefinchapman@outlook.com
                                               6    STEPHEN CHAPMAN , IN PRO PER
                                               7
                                               8
                                               9                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                              10                                FOR THE COUNTY OF LOS ANGELES
                                              11
                                                                                                 )
                                              12      STEPHEN CHAPMAN,                                   Case Number: 24STCV27909
                                                                                                 )
                                              13      Plaintiff,                                 )
                                                                                                 )
                                              14      v.                                         )       FIRST AMENDED COMPLAINT
                                                                                                 )       FOR BREACH OF CONTRACT,
                                              15      HORACE MANN PROPERTY &
                                                                                                 )       BAD FAITH DENIAL OF
                                              16      CASUALTY INSURANCE COMPANY,                )       INSURANCE BENEFITS, FRAUD,
                                                                                                 )       AND RELATED CAUSES OF
                                              17      Defendant.                                 )
                                                                                                         ACTION
                                                                                                 )
                                              18                                                 )                              Dated 11.10.2024
                                              19                                                 )
                                                                                                 )                            CIVIL UNLIMITED
                                              20                                                 )
                                                                                                 )
                                              21                                                 )            _______________________________
                                              22                                                 )
                                                                                                 )                         [STEPHEN CHAPMAN]
                                              23
                                              24    FIRST AMENDED COMPLAINT FOR BREACH OF CONTRACT, BAD FAITH DENIAL OF
                                              25    INSURANCE BENEFITS, FRAUD, AND RELATED CAUSES OF ACTION
                                              26
                                              27    COMES NOW, Plaintiff Stephen Chapman and hereby files this First Amended Complaint against
                                              28    Defendant Horace Mann Property & Casualty Insurance Company, and alleges as follows:

                                                                                                     1
                                                             Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causes of Action

                                                                                                                                           Exh. A - 3
     Case 2:24-cv-10546-MWF-BFM            Document 1-3       Filed 12/06/24      Page 5 of 31 Page ID
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29                                               INTRODUCTION
30    Plaintiff Stephen Chapman brings this action against Defendant Horace Mann Property & Casualty
31    Insurance Company for breach of contract, bad faith denial of insurance benefits, fraud, and other causes
32    of action related to Defendant's improper handling of Plaintiff's insurance claim.
33                                                    PARTIES
34    Plaintiff Stephen Chapman is an individual residing in Los Angeles County, California.
35    Defendant Horace Mann Property & Casualty Insurance Company is a corporation organized under
36    the laws of Illinois and authorized to conduct business in California, including the issuance of
37    automobile insurance policies.
38                                        JURISDICTION AND VENUE
39    This Court has jurisdiction over this action under Article VI, Section 10 of the California
40    Constitution, as the amount in controversy exceeds the minimum jurisdictional requirement of the
41    Superior Court. Venue is proper in this Court under California Code of Civil Procedure § 395(a)
42    because Defendant conducts substantial business in Los Angeles County, and Plaintiff's causes of action
43    arose in Los Angeles County.
44                                         FACTUAL ALLEGATIONS
45    On or about January 6th, 2022, Plaintiff purchased an auto insurance policy from Defendant
46    (policy/account number 65000544570101), covering his 2017 Porsche Macan S AWD, with a
47    premium of $1,252.58 for a six-month term. Plaintiff made all required premium payments, including:
48           •   January 6, 2022: $213.71 [Payment withheld & processed 01/27/2022 by the insurer]
49           •   March 16, 2022: $269.66
50           •   April 18, 2022: $269.65
51           •   May 17, 2022: $269.67
52           •   June 16, 2022: $531.50 (resulting in a credit balance of $307.31).
53    On or around January 24th, 2022 per the defendant, an internal system errors occurred at Horace Mann
54    which prompted a request for the plaintiff’s signature on a new policy/account number
55    (65000544570102) with the same terms, conditions, and coverages as the initial policy; back-dated to
56    January 10th 2022. At this time, the defendant communicated that there would be no-cost for coverages

                                                          2
              Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causes of Action

                                                                                                    Exh. A - 4
     Case 2:24-cv-10546-MWF-BFM              Document 1-3       Filed 12/06/24      Page 6 of 31 Page ID
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57    from January 10th 2022 to January 24th 2022. Subsequently, on January 27th 2022 the initial payment that
58    was paid by the plaintiff on January 6th was processed.
59    Policy (65000544570102) was renewed for a new term from July 10, 2022, to January 10, 2023, with a
60    renewal premium of $1,566.48. The Plaintiff's payment made on June 15, 2022 exceeded the premium
61    due on 07/15/2022, resulting in no past-due balance as purported by the defendant.
62    Despite Plaintiff’s timely payments and credit balance, Defendant wrongfully canceled Plaintiff’s policy
63    on August 15, 2022, citing non-payment. Defendant presented redacted transaction records as evidence
64    of declined payments, which Plaintiff later discovered were fraudulent, showing account numbers that
65    did not match Plaintiff’s account. Defendant also failed to properly notify Plaintiff of the cancellation as
66    required by California Insurance Code § 662. A recorded phone call with a Horace Mann agent
67    revealed that procedural irregularities had occurred, with the agent admitting that another review was
68    required and suggesting that the initial cancellation was flawed. As a result of Defendant’s wrongful
69    actions, Plaintiff suffered financial losses, including medical expenses, lost wages, and emotional
70    distress.
71                                              CAUSES OF ACTION
72                                FIRST CAUSE OF ACTION: Breach of Contract
73      Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Plaintiff entered into a
74     valid contract with Defendant under policy number 65000544570102, and Plaintiff fully performed by
75                                              making timely payments.
76                                         Defendant breached the contract by:
77        •     Wrongfully canceling Plaintiff’s policy despite timely payments;
78        •     Failing to properly notify Plaintiff of the cancellation as required under California Insurance
79              Code § 662;
80        •     Failing to honor Plaintiff’s legitimate insurance claim following an accident in November 2022.
81            As a result of Defendant’s breach, Plaintiff suffered damages including lost wages, medical
82                                          expenses, and policy benefits.
83                   SECOND CAUSE OF ACTION: Bad Faith Denial of Insurance Benefits



                                                            3
                Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causes of Action

                                                                                                      Exh. A - 5
      Case 2:24-cv-10546-MWF-BFM             Document 1-3        Filed 12/06/24      Page 7 of 31 Page ID
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 84    Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Defendant owed Plaintiff
 85       a duty of good faith and fair dealing under the insurance contract. Defendant breached this duty by
 86         wrongfully canceling Plaintiff’s policy and denying his claim, acting in bad faith and violating
 87     California Insurance Code § 1861.03. As a result of Defendant’s bad faith conduct, Plaintiff suffered
 88                               financial losses, emotional distress, and lost benefits.
 89                  THIRD CAUSE OF ACTION: Fraud and Intentional Misrepresentation
 90      Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Defendant knowingly
 91     made false representations regarding Plaintiff’s policy status, including falsified transaction records and
 92       claims of declined payments. Defendant presented fraudulent records to Plaintiff and the California
 93       Department of Insurance to justify the wrongful cancellation. Defendant’s fraudulent conduct was
 94              intended to deceive Plaintiff, causing Plaintiff financial harm and emotional distress.
 95                        FOURTH CAUSE OF ACTION: Negligent Misrepresentation
 96      Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Defendant negligently
 97        misrepresented the status of Plaintiff’s payments, policy, and coverage through its agents. These
 98                    misrepresentations caused Plaintiff financial losses and emotional distress.
 99                           FIFTH CAUSE OF ACTION: Breach of Fiduciary Duty
100    Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Defendant owed Plaintiff
101       a fiduciary duty to act in good faith and exercise reasonable care in handling his policy and claims.
102    Defendant breached this duty by wrongfully canceling the policy, misrepresenting payment records, and
103        failing to properly investigate Plaintiff’s claims. As a result, Plaintiff suffered financial harm and
104                                                 emotional distress.
105                                  SIXTH CAUSE OF ACTION: Malfeasance
106                  Plaintiff incorporates all preceding paragraphs as though fully set forth herein.
107      Defendant engaged in malfeasance, including submitting fraudulent documents and misrepresenting
108    payment status to justify wrongful cancellation. This conduct caused Plaintiff significant financial losses
109                                              and emotional distress.
110                            SEVENTH CAUSE OF ACTION: Oppressive Conduct



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               Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causes of Action

                                                                                                         Exh. A - 6
      Case 2:24-cv-10546-MWF-BFM              Document 1-3        Filed 12/06/24      Page 8 of 31 Page ID
                                                    #:23



111     Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Defendant’s actions in
112        falsifying records, mishandling payments, and wrongfully canceling Plaintiff's policy constitute
113      oppressive misconduct. Defendant acted with malicious intent to deny Plaintiff his rightful benefits.
114                EIGHTH CAUSE OF ACTION: Violation of California Insurance Code § 662
115      Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Defendant violated
116        California Insurance Code § 662 by failing to send proper notice of cancellation to Plaintiff’s
117            correct address. This violation resulted in financial harm and emotional distress to Plaintiff.
118       NINTH CAUSE OF ACTION: Violation of California Business & Professions Code § 17200
119     Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Defendant engaged in
120     fraudulent and unfair business practices, violating California Business & Professions Code § 17200.
121                   Plaintiff is entitled to damages for Defendant’s unfair and deceptive conduct.
122              TENTH CAUSE OF ACTION: Intentional Infliction of Emotional Distress (IIED)
123     Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Defendant’s conduct,
124      including falsifying records and canceling the policy, was extreme and outrageous, causing Plaintiff
125                                              severe emotional distress.
126            ELEVENTH CAUSE OF ACTION: Negligent Infliction of Emotional Distress (NIED)
127     Plaintiff incorporates all preceding paragraphs as though fully set forth herein. Defendant’s negligent
128                handling of Plaintiff’s payments and policy caused foreseeable emotional distress.
129                                             PRAYER FOR RELIEF
130                    WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
131        1. For compensatory damages in an amount to be determined at trial;
132        2. For punitive damages for Defendant’s fraudulent, malicious, and oppressive conduct;
133        3. For consequential damages for emotional distress;
134        4. For attorney’s fees and costs under California Code of Civil Procedure § 1021.5;
135        5. For interest on damages as allowed by law;
136        6. For any other relief the Court deems just and proper.
137                                                     EXHIBITS
138        •    Exhibit A: Payment records (page intentionally left blank for later inclusion).

                                                              5
                 Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causes of Action

                                                                                                         Exh. A - 7
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139       •   Exhibit B: Fraudulent transaction records (page intentionally left blank for later inclusion).
140       •   Exhibit C: Phone call transcriptions (page intentionally left blank for later inclusion).
141       •   Exhibit D: Medical and therapy records (page intentionally
142
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148    _______________________________________________
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163                                                                                      DATED: 11.10.2024

164                                                                                   ____________________

165                                                                                        Stephen Chapman

166                                                                                      Plaintiff, In Pro Per

                                                           6
              Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causes of Action

                                                                                                      Exh. A - 8
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                                           ID #:25



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     (619)550-7543
     n/a

     Stefinchapman@outlook.com
     STEPHEN CHAPMAN                     , IN PRO PER




                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                          FOR THE COUNTY OF LOS ANGELES


10

11   STEPHEN CHAPMAN                                         ) Case No.:
                                                                 COMPLAINT FOR BREACH OF
12
                                                             ) CONTRACT, BAD FAITH DENIAL OF
13                                                           ) INSURANCE BENEFITS, FRAUD, AND
                                                             ) RELATED CAUSES OF ACTION
14                                       Plaintiff(s),       _)
                                                             )
15                         Vs.                               )
16   HORACE MANN PROPERTY &
     CASUALTY INSURANCE COMPANY                              ) DATE:10.23.2024
17
                                                                 TIME: 1539

18                                                           ) DEPT: CIVIL UNLIMITED
                                         Defendant(s).
                                                   _)
19

20   This action arises from the wrongful cancellation of Plaintiff Stephen Chapman’s auto insurance
21   policy by Horace Mann Property & Casualty Insurance Company ("Horace Mann"), despite

22   Plaintiff's timely payments and credit balance. Horace Mann engagedin systematic bad faith
23   insurance practices, including fraudulent misrepresentations, malfeasance,oppressive conduct, and
24   wrongful cancellation of Plaintiff's policy. Plaintiff seekscompensatory and punitive damages.
25   On October 21, 2024, Plaintiff initially filed this Complaint with the Court. However, it was

26   rejected due to formatting issues and non-compliance with CRC Rule 2.100-2.141. This current
27   version of the Complaint has been refiled to addressthe procedural issues while maintaining the
28   same claims and causes of action.


                                                         Page |
             Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causesof Action
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29                                                PARTIES

30    Plaintiff, Stephen Chapman is an individual residing in Los Angeles County, California.

31    Defendant, Horace Mann Property & Casualty Insurance Company is a corporation

32    organized under the laws of Illinois and authorized to conduct business in California, including

33    the issuance of automobile insurance policies.

34                                      JURISDICTION AND VENUE

35    This Court has jurisdiction over this action under Article VI, Section 10 of the California

36    Constitution, as the amount in controversy exceeds the minimum jurisdictional requirement of

37    the Superior Court.

38    Venue is proper in this Court under California Code of Civil Procedure § 395(a) because

39    Defendant conducts substantial business in Los Angeles County, and Plaintiff's causes of action

40    arose in Los Angeles County.

41                                      FACTUAL ALLEGATIONS

42    On or about January 10, 2022, Plaintiff purchased an auto insurance policy from Defendant

43    (policy/account number 65000544570102), covering his 2017 Porsche Macan S AWD, with a

44    premium of $1,252.58 for a six-month term $1,246.88 after AAA discount.

45    Plaintiff made all required premium payments, including:

46       •    January 6, 2022: $213.71 [Payment withheld & processed on 01/27/2022 by the insurer]

47       •    March 16, 2022: $269.66

48       •    April 18, 2022: $269.65

49       •    May 17, 2022: $269.67

50       •    June 16, 2022: $531.50 (resulting in a credit balance of $325.30).




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             Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causes of Action
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51    The policy was renewed for a new term from July 10, 2022, to January 10, 2023, with a renewal

52    premium of approximately $270.00 -which the Plaintiff's credit balanced covered, thus leaving

53    no late or past-due balance.

54    Despite Plaintiff’s timely payments and credit balance, Defendant wrongfully canceled

55    Plaintiff’s policy on August 15, 2022, citing non-payment.

56    Defendant presented redacted transaction records as evidence of declined payments, which

57    Plaintiff later discovered were fraudulent, showing account numbers that did not match

58    Plaintiff’s account. Defendant also failed to properly notify Plaintiff of the cancellation as

59    required by California Insurance Code § 662.

60    A recorded phone call with a Horace Mann agent revealed that procedural irregularities had

61    occurred, with the agent admitting that another review was required and suggesting that the

62    initial cancellation was flawed.

63    As a result of Defendant’s wrongful actions, Plaintiff suffered financial losses, including

64    medical expenses, lost wages, and emotional distress.

65                           FIRST CAUSE OF ACTION: Breach of Contract

66    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

67    Plaintiff entered into a valid contract with Defendant under policy number 65000544570102.

68    Plaintiff fully performed by making timely payments.

69    Defendant breached the contract by:

70       •    Wrongfully canceling Plaintiff’s policy despite timely payments;

71       •    Failing to properly notify Plaintiff of the cancellation as required under California

72            Insurance Code § 662;




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                                                     Page

             Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causes of Action
                                                                                          Exh. A - 11
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73        •   Failing to honor Plaintiff’s legitimate insurance claim following an accident in November

74            2022.

75    As a result of Defendant’s breach, Plaintiff suffered damages including lost wages, medical

76    expenses, and policy benefits.

77               SECOND CAUSE OF ACTION: Bad Faith Denial of Insurance Benefits

78    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

79    Defendant owed Plaintiff a duty of good faith and fair dealing under the insurance contract.

80    Defendant breached this duty by wrongfully canceling Plaintiff’s policy and denying his claim,

81    acting in bad faith and violating California Insurance Code § 1861.03.

82    As a result of Defendant’s bad faith conduct, Plaintiff suffered financial losses, emotional

83    distress, and lost benefits.

84              THIRD CAUSE OF ACTION: Fraud and Intentional Misrepresentation

85    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

86    Defendant knowingly made false representations regarding Plaintiff’s policy status, including

87    falsified transaction records and claims of declined payments.

88    Defendant presented fraudulent records to Plaintiff and the California Department of Insurance

89    to justify the wrongful cancellation.

90    Defendant’s fraudulent conduct was intended to deceive Plaintiff, causing Plaintiff financial

91    harm and emotional distress.

92                    FOURTH CAUSE OF ACTION: Negligent Misrepresentation

93    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

94    Defendant negligently misrepresented the status of Plaintiff’s payments, policy, and coverage

95    through its agents.



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          Complaint for Breach of Contract, Bad Faith, Fraud, and Related Causes of Action
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 96    These misrepresentations caused Plaintiff financial losses and emotional distress.

 97                       FIFTH CAUSE OF ACTION: Breach of Fiduciary Duty

 98    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

 99    Defendant owed Plaintiff a fiduciary duty to act in good faith and exercise reasonable care in

100    handling his policy and claims.

101    Defendant breached this duty by wrongfully canceling the policy, misrepresenting payment

102    records, and failing to properly investigate Plaintiff’s claims.

103    As a result, Plaintiff suffered financial harm and emotional distress.

104                               SIXTH CAUSE OF ACTION: Malfeasance

105    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

106    Defendant engaged in malfeasance, including submitting fraudulent documents and

107    misrepresenting payment status to justify wrongful cancellation.

108    This conduct caused Plaintiff significant financial losses and emotional distress.

109                        SEVENTH CAUSE OF ACTION: Oppressive Conduct

110    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

111    Defendant’s actions in falsifying records, mishandling payments, and wrongfully canceling

112    Plaintiff's policy constitute oppressive misconduct.

113    Defendant acted with malicious intent to deny Plaintiff his rightful benefits.

114           EIGHTH CAUSE OF ACTION: Violation of California Insurance Code § 662

115    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

116    Defendant violated California Insurance Code § 662 by failing to send proper notice of

117    cancellation to Plaintiff’s correct address.

118    This violation resulted in financial harm and emotional distress to Plaintiff.




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119       NINTH CAUSE OF ACTION: Violation of California Business & Professions Code §

120                                                   17200

121    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

122    Defendant engaged in fraudulent and unfair business practices, violating California Business &

123    Professions Code § 17200.

124    Plaintiff is entitled to damages for Defendant’s unfair and deceptive conduct.

125         TENTH CAUSE OF ACTION: Intentional Infliction of Emotional Distress (IIED)

126    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

127    Defendant’s conduct, including falsifying records and canceling the policy, was extreme and

128    outrageous, causing Plaintiff severe emotional distress.

129       ELEVENTH CAUSE OF ACTION: Negligent Infliction of Emotional Distress (NIED)

130    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

131    Defendant’s negligent handling of Plaintiff’s payments and policy caused foreseeable emotional

132    distress.

133                                        PRAYER FOR RELIEF:

134    WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

135    Compensatory damages for lost wages, medical expenses, and insurance benefits;

136    Punitive damages for Defendant’s fraudulent, malicious, and oppressive conduct;

137    Consequential damages for emotional distress;

138    Attorney’s fees and costs under California Code of Civil Procedure § 1021.5;

139    Interest on damages as allowed by law;

140    Any other relief the Court deems just and proper.

141                                                EXHIBITS




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142    Exhibit A: Payment records (page intentionally left blank for later inclusion).

143    Exhibit B: Fraudulent transaction records (page intentionally left blank for later inclusion).

144    Exhibit C: Phone call transcriptions (page intentionally left blank for later inclusion).

145    Exhibit D: Medical and therapy records (page intentionally left blank for later inclusion).

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156    DATED: 10.23.2024

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159                                                                  STEPHEN CHAPMAN

160                                                                  In Pro Per

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                  EXHIBIT B
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 6 Attorneys for Defendant Horace Mann Property

 7 and Casualty Insurance Company

 8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                         FOR THE COUNTY OF LOS ANGELES
 9
     STEPHEN CHAPMAN,                           CASE NO. 24STCV27909
10                                              Honorable Michael Shultz
                         Plaintiff,             Department 40
11
            v.                                  ANSWER OF HORACE MANN PROPERTY AND
12
                                                CASUALTY INSURANCE COMPANY TO FIRST
13   HORACE MANN PROPERTY &                     AMENDED COMPLAINT
     CASUALTY INSURANCE
     COMPANY,
14                                              Complaint filed: October 24, 2024
                     Defendant,                 First Amended Complaint filed: November 14, 2024
15
                                                Trial Date: None
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20          Defendant HORACE MANN PROPERTY AND CASUALTY INSURANCE

21 COMPANY (“Horace Mann”) answers the First Amended Complaint (“Complaint”) filed by

22 Plaintiff STEPHEN CHAPMAN (“Chapman”) as follows:

23                                     GENERAL DENIAL

24          Under California Code of Civil Procedure § 431.30(d), Horace Mann denies each and

25 every allegation and claim in the Complaint, all and singular, general and specific, and denies

26 that Chapman has been damaged, or has sustained any injury, damages, or loss, by reason of

27 any act or omission by Horace Mann or its agents, representative servants, or employees.

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 1                                  AFFIRMATIVE DEFENSES

 2          Horace Mann raises each of the following affirmative defenses to each and every cause

 3 of action, claim, act or omission alleged against it. Horace Mann alleges the following

 4 affirmative defenses without assuming the burden of proof for any of them where the law does

 5 not place the burden on Horace Mann.

 6                              FIRST AFFIRMATIVE DEFENSE

 7                                   (No Contract of Insurance)

 8          Horace Mann denies that an insurance policy was in effect as alleged by Chapman

 9 because inter alia Chapman did not pay the premium required to purchase a policy.

10                             SECOND AFFIRMATIVE DEFENSE

11                                          (Arbitration)

12          Horace Mann denies that an insurance policy was in effect as alleged by Chapman.

13 Subject to and without waiving this denial, to the extent a valid contract of insurance is found

14 as alleged, the Complaint and each cause of action would be barred or limited by an arbitration

15 provision and California Insurance Code § 11580.2.

16                              THIRD AFFIRMATIVE DEFENSE

17                  (Failure to Comply with Contract Terms and Conditions)

18          Horace Mann denies that an insurance policy was in effect as alleged by Chapman.

19 Subject to and without waiving this denial, to the extent a valid contract of insurance is found
20 as alleged, the Complaint and each cause of action would be barred because Chapman has not

21 complied with the terms and conditions of any such alleged contract.

22                             FOURTH AFFIRMATIVE DEFENSE

23                          (Breach of Contract and Implied Covenant)

24          Horace Mann denies that an insurance policy was in effect as alleged by Chapman.

25 Subject to and without waiving this denial, to the extent a valid contract of insurance is found

26 as alleged, the Complaint and each cause of action would be barred because Chapman breached

27 the contract and the implied covenant of good faith and fair dealing.

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 1                               FIFTH AFFIRMATIVE DEFENSE

 2                                  (Prevention of Performance)

 3          Horace Mann denies that an insurance policy was in effect as alleged by Chapman.

 4 Subject to and without waiving this denial, to the extent a valid contract of insurance is found

 5 as alleged, the Complaint and each cause of action would be barred by Chapman’s prevention

 6 of Horace Mann from performing under any such contract.

 7                               SIXTH AFFIRMATIVE DEFENSE

 8         (Recovery Precluded by Terms and Conditions of Contract that is Alleged)

 9          Horace Mann denies that an insurance policy was in effect as alleged by Chapman.

10 Subject to and without waiving this denial, to the extent a valid contract of insurance is found

11 as alleged, the Complaint and each cause of action would be barred by the terms and conditions

12 of any such contract.

13                             SEVENTH AFFIRMATIVE DEFENSE

14                         (Full Performance and Discharge of Obligations)

15          Horace Mann denies that an insurance policy was in effect as alleged by Chapman.

16 Subject to and without waiving this denial, to the extent a valid contract of insurance is found

17 as alleged, the Complaint and each cause of action would be barred because Horace Mann has

18 completed and fully performed and discharged any and all obligations and legal duties.

19                              EIGHTH AFFIRMATIVE DEFENSE
20                                    (Substantial Compliance)

21          Horace Mann denies that an insurance policy was in effect as alleged by Chapman.

22 Subject to and without waiving this denial, to the extent a valid contract of insurance is found

23 as alleged, the Complaint and each cause of action would be barred because Horace Mann has

24 substantially met any and all obligations and legal duties.

25                              NINTH AFFIRMATIVE DEFENSE

26                                  (No Injury, Damage, or Loss)

27          The Complaint and the purported causes of action are barred in whole or in part because

28 Chapman has not been injured or damaged and did not sustain any loss as a proximate result
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 1 of any act or omission, if any, for which Horace Mann is responsible, if any.

 2                             TENTH AFFIRMATIVE DEFENSE

 3                                         (Offset/Credit)

 4          In the event there is a finding of damages for Chapman, such damages must be offset

 5 to the extent Chapman received monetary benefits from collateral sources and by the amounts

 6 Chapman owes to Horace Mann and the credits and offsets to which Horace Mann is entitled

 7 from Chapman.

 8                           ELEVENTH AFFIRMATIVE DEFENSE

 9                             (Other Insurers and Other Insurance)

10          Horace Mann denies that an insurance policy was in effect as alleged by Chapman.

11 Subject to and without waiving this denial, to the extent a valid contract of insurance is found

12 as alleged, the Complaint and each cause of action would be barred or limited based on

13 principles and doctrines of contribution, indemnity, subrogation, equitable subrogation,

14 allocation, or apportionment.

15                            TWELFTH AFFIRMATIVE DEFENSE

16                                       (Other Recoveries)

17          Horace Mann denies that an insurance policy was in effect as alleged by Chapman.

18 Subject to and without waiving this denial, to the extent a valid contract of insurance is found

19 as alleged, the Complaint and each cause of action would be barred or limited based on
20 amounts collected by Chapman from other persons or entities.

21                         THIRTEENTH AFFIRMATIVE DEFENSE

22                                      (Failure to Mitigate)

23          The Complaint and each purported cause of action are barred because Chapman failed

24 to mitigate, minimize, or avoid any of the damages alleged.

25                         FOURTEENTH AFFIRMATIVE DEFENSE

26                                     (Speculative Damages)

27          Without admitting that Chapman was in any way damaged, if he were, the Complaint

28 and each purported cause of action are barred because any alleged losses or damages are
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 1 speculative, vague, based on guess-work and conjecture, and impossible to ascertain or

 2 allocate.

 3                          FIFTEENTH AFFIRMATIVE DEFENSE

 4                                     (Comparative Fault)

 5         Without admitting that Chapman was in any way damaged, if he were, any alleged loss

 6 or damage was proximately caused by the comparative or contributory fault and negligence of

 7 Chapman and his agents and representatives.

 8                          SIXTEENTH AFFIRMATIVE DEFENSE

 9                                 (Conduct of Third Parties)

10         Without admitting that Chapman was in any way damaged, if he were, any alleged loss

11 or damage was caused by the acts of persons or entities other than Horace Mann.

12                         SEVENTEENTH AFFIRMATIVE DEFENSE

13                                    (Failure to Cooperate)

14         The Complaint and each purported cause of action are barred to the extent Chapman

15 failed to cooperate with Horace Mann’s attempts to investigate Chapman’s claim.

16                         EIGHTEENTH AFFIRMATIVE DEFENSE

17                            (Misrepresentation or Concealment)

18         To the extent that Chapman made a material misrepresentation or concealed any

19 material fact during the claim or in connection with an insurance application, the Complaint
20 and each purported cause of action would be barred.

21                         NINETEENTH AFFIRMATIVE DEFENSE

22                                    (Unjust Enrichment)

23         The Complaint and each purported cause of action are barred by the equitable doctrine

24 of unjust enrichment.

25                          TWENTIETH AFFIRMATIVE DEFENSE

26                                           (Waiver)

27         Chapman knowingly, voluntarily, and willingly waived any rights he may otherwise

28 have had against Horace Mann.
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 1                         TWENTY-FIRST AFFIRMATIVE DEFENSE

 2                                             (Estoppel)

 3          The Complaint and each purported cause of action are barred by the equitable doctrine

 4 of estoppel.

 5                       TWENTY-SECOND AFFIRMATIVE DEFENSE

 6                                         (Unclean Hands)

 7          The Complaint and each purported cause of action are barred by the equitable doctrine

 8 of unclean hands to the extent Chapman engaged in wrongful conduct with respect to the

 9 activities and events referenced in the Complaint.

10                        TWENTY-THIRD AFFIRMATIVE DEFENSE

11                                              (Laches)

12          Chapman’s claims against Horace Mann are barred by the equitable doctrine of laches.

13                       TWENTY-FOURTH AFFIRMATIVE DEFENSE

14                                           (Due Process)

15          The Complaint’s demand for punitive damages violates Horace Mann’s rights to

16 procedural due process under the Fourteenth Amendment to the United States Constitution and

17 the Constitution of the State of California and, therefore, fails to state a basis upon which

18 punitive damages may be awarded.

19                         TWENTY-FIFTH AFFIRMATIVE DEFENSE
20                                      (Statute of Limitations)

21          The Complaint is barred by any applicable statute of limitations, including without

22 limitation California Code of Civil Procedure §§ 337(1), 338(a) and (d), 339(1), 340, and 343.

23                         TWENTY-SIXTH AFFIRMATIVE DEFENSE

24                     (Additional Unknown Defenses/Reservation of Rights)

25          Horace Mann may have other affirmative defenses of which it is currently unaware and

26 reserves the right to allege additional affirmative defenses during the course of this litigation.

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 1                                 PRAYER FOR RELIEF

 2       Wherefore, Horace Mann prays for relief as follows:

 3       1.     That the Complaint be dismissed, with prejudice, and in its entirety;

 4       2.     That Chapman take nothing;

 5       3.     For costs, attorney’s fees, and such other and further relief as the Court may

 6              deem just and proper.

 7                                            Respectfully submitted,

 8 DATED: December 5, 2024                    FREEMAN MATHIS & GARY, LLP

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10
                                              Marc J. Shrake
11
                                              Kristin A. Ingulsrud
12                                            Attorneys for Defendant Horace Mann Property
                                              and Casualty Insurance Company
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                     1                                        PROOF OF SERVICE
                                          Stephen Chapman v. Horace Mann Property, et al. | Case No. 24STCV27909
                     2
                              I am over 18 years of age and not a party to this action. I am employed in Los Angeles,
                     3 California. My business address is 550 S. Hope Street, Suite 2200, Los Angeles, California 90071,

                     4 my email: connie.spears@fmglaw.com.

                     5 On December 5, 2024, I served a copy of the document(s) titled ANSWER OF HORACE MANN
                       PROPERTY AND CASUALTY INSURANCE COMPANY TO FIRST AMENDED
                     6 COMPLAINT in the manner described below:

                     7

                     8    STEPHEN CHAPMAN, IN PRO PER
                          7917 Selma Avenue 336
                     9    Los Angeles, CA 90046
                          T: 619.550.7543
                    10    stefinchapman@outlook.com
                    11

                    12
                               (BY MAIL) I deposited such envelope(s) in the mail at Los Angeles, California. The
                    13         envelope was mailed with postage thereon fully prepaid. I am “readily familiar” with the
                               firm’s practice of collection and processing correspondence for mailing. Under that
                    14         practice it would be deposited with U.S. postal service on that same day with postage
                               thereon fully prepaid at Los Angeles, California in the ordinary course of business. I am
                    15
                               aware that on motion of the party served, service is presumed invalid if postal cancellation
                    16         date or postage meter date is more than one day after date of deposit for mailing in affidavit.
                               (BY OVERNIGHT DELIVERY) I placed said documents in envelope(s) for collection
                    17         following ordinary business practices, at the business offices of FREEMAN MATHIS &
                               GARY, LLP and addressed as shown on the attached service list, for collection and delivery
                    18         by FEDEX to receive said documents, with delivery fees provided for. I am readily
                               familiar with the practices of FREEMAN MATHIS & GARY, LLP for collection and
                    19
                               processing of documents for overnight delivery and said envelope(s) will be deposited for
                    20         receipt by FEDEX on said date in the ordinary course of business.
                               (BY PERSONAL SERVICE) I caused such envelope(s) to be delivered by hand to the
                    21         offices of the addressee(s).
                               (BY-E-MAIL) I caused a copy of the document(s) to be sent from e-mail address
                    22         connie.spears@fmglaw.com to the person(s) at the email address(es) listed in the attached
                    23         Service List. I did not receive, within a reasonable time after the transmission, any
                               electronic message or other indication that the transmission was unsuccessful.
                    24         (STATE) I declare under penalty of perjury under the laws of the State of California that
                               the above is true and correct.
                    25
                               Executed on December 5, 2024, at Houston, Texas.
                    26

                    27
Freeman Mathis                                                               Connie Spears
  & Gary, LLP
Attorneys at Law    28

                                                                   PROOF OF SERVICE


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                  EXHIBIT C
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                                                                                                     - Company Search
                                                                               ID #:45




     Legal Name:         Horace Mann Property & Casualty Insurance Company
     Company Type:       P&C Domestic Stock
     Domicile:           Springfield, Illinois
     Parent Company:     Horace Mann Educators Corporation
     Status:             Active
     FEIN:               XX-XXXXXXX
     NAIC Code:          300 22756
     Incorporated Date: 3/25/1965


    Addresses
     Corporate Home                              Administrative Mailing

     1 Horace Mann Plaza                         1 Horace Mann Plaza
     Springfield, IL 62715 0001                  Springfield, IL 62715




    Phone Numbers

     Business

     (217) 789-2500




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https://insurance.illinois.gov/applications/RegEntPortal/ViewEntityDetails.aspx?en=759100&s=Active&t=INS                                1/1
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                     1                             CERTIFICATE OF SERVICE
                     2 I hereby certify that on the 6th day of December, 2024, I served the foregoing

                     3 document described as DECLARATION OF KRISTIN A. INGULSRUD IN

                     4 SUPPORT OF NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §

                     5 1441; EXHIBITS A-C via email and U.S. Mail, on the interested parties in this

                     6 action as follows:

                     7

                     8     STEPHEN CHAPMAN, IN PRO PER
                           7917 Selma Avenue 336
                     9     Los Angeles, CA 90046
                           T: 619.550.7543
                    10     stefinchapman@outlook.com
                    11

                    12
                               I declare under penalty of perjury under the laws of the United States of America
                    13
                         that the foregoing is true and correct and that I am employed in the office of a member
                    14
                         of the bar of this Court under whose direction the service was made.
                    15

                    16         Executed on December 6, 2024, at Houston, TX.
                    17

                    18                                          /s/ Connie Spears
                    19

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Freeman Mathis
  & Gary, LLP
Attorneys at Law    28
